Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Shilo Inn, Ocean Shores, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                                                                                  c/o Shilo Management Corporation
                                  707 Ocean Shores Blvd NW                                        11707 NE Airport Way
                                  Ocean Shores, WA 98569                                          Portland, OR 97220
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Grays Harbor                                                    Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                 Case 20-42348-BDL                 Doc 1        Filed 10/15/20           Ent. 10/15/20 16:16:41                 Pg. 1 of 20
Debtor    Shilo Inn, Ocean Shores, LLC                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                        No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                 Relationship
                                                 District                                 When                          Case number, if known


Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                 Case 20-42348-BDL                     Doc 1       Filed 10/15/20             Ent. 10/15/20 16:16:41                Pg. 2 of 20
Debtor   Shilo Inn, Ocean Shores, LLC                                                            Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                Case 20-42348-BDL                 Doc 1         Filed 10/15/20            Ent. 10/15/20 16:16:41                  Pg. 3 of 20
Debtor    Shilo Inn, Ocean Shores, LLC                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 15, 2020
                                                  MM / DD / YYYY


                             X /s/ Mark S. Hemstreet                                                      Mark S. Hemstreet
                                 Signature of authorized representative of debtor                         Printed name

                                         Secretary of Shilo Ocean Shores Corp,
                                 Title   Manager




18. Signature of attorney    X /s/ Bryan T. Glover                                                         Date October 15, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Bryan T. Glover
                                 Printed name

                                 Stoel Rives, LLP
                                 Firm name

                                 600 University Street, Suite 3600
                                 Seattle, WA 98101
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     206.624.0900                  Email address           bryan.glover@stoel.com

                                 WSBA No. 51045
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
                 Case 20-42348-BDL                 Doc 1        Filed 10/15/20             Ent. 10/15/20 16:16:41                 Pg. 4 of 20
 UNANIMOUS RESOLUTION OF MEMBERS AND MANAGER AUTHORIZING

                         CHAPTER 11 BANKRUPTCY FILING

        A special meeting of the members of Shilo Inn, Ocean Shores, LLC, an Oregon

 limited liability company (the "Company") was held on August 31, 2019, at which the

 following resolutions were duly enacted, and the same remain in full force and effect,

 without modification, unless and until a further resolution to the contrary is adopted:

                RESOLVED, that a Petition under the provisions of
                Chapter 11 of Title 11 of the United States Code shall be
                filed by the Company with the United States Bankruptcy
                Court in the event that any of these entities: Shilo Inn,
                Bend, LLC; Shilo Inn, Warrenton, LLC; Shilo Inn, Nampa
                Suites, LLC; or Shilo Inn, Ocean Shores, LLC, is faced
                with a foreclosure sale.


 Dated: August 31, 2019



 By:
        Mark Hemstreet
        Member holding 99.9% membership interests


 By:    Shilo Ocean Shores Corp., an Oregon Corporation
        Manager and Member holding 0.1% membership interests


                By: [see corporate minutes of board meeting]
                       Shannon M. Hemstreet, President, Director


                By: [see corporate minutes of board meeting]
                       Mark S.. Hemstreet, Secretary, Director


                By: [see corporate minutes of board meeting]
                       C. Anthony Shippam, Independent Director




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                               SHILO OCEAN SHORES CORP.
                                SECRETARY’S CERTIFICATE
I, Mark S. Hemstreet, am the duly elected, qualified and acting Secretary of Shilo Ocean Shores
Corp., an Oregon corporation (the “Corporation”), and in such capacity, I have access to and the
authority to certify the books and records of the Corporation. I hereby certify that the attached is a
true and correct copy of the resolutions adopted at a special meeting of the Board of Directors of
the Corporation on August 31, 2019, which resolutions have not been in any way amended,
modified, revoked or rescinded since their adoption and remain in full force and effect as of the
date hereof.
IN WITNESS WHEREOF, I have hereunto subscribed my name this 24th day of October, 2019.



                                               Mark S. Hemstreet, Secretary




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From:                     David Bristol
To:                       cashippam@smcglobal.net; Mark Hemstreet; Shannon Hemstreet
Cc:                       David B. Golubchik; John-Patrick M. Fritz; Larry Chank
Subject:                  Board Minutes
Date:                     Saturday, August 31, 2019 5:46:32 PM



Minutes of board meetings of Shilo Bend Corp., Shilo Nampa Suites Corp., Shilo Ocean Shores
Corp., and Shilo Warrenton Corp. (the "Companies").

At a duly held board meeting of each of the Companies at 3pm on August 31, 2019, the
following resolution was made upon motion by Shannon Hemstreet, seconded by Mark
Hemstreet and unanimously approved by board members: Shannon Hemstreet, Mark
Hemstreet and C. Anytony Shippam:

          In the event that any one of the Companies are faced with a foreclosure sale, the
          Companies and its officers and managers are authorized to file bankruptcy
          protection under the United States Bankruptcy Code.

Thank you for your participation in this meeting called on short notice.

Enjoy the holiday weekend.

Best Regards,

David

David G. Bristol
General Counsel
Shilo Management Corporation
11707 NE Airport Way, Portland, Oregon 97220
Phone: (503) 641-6565 | Cell: (503) 997-4653 (Preferred)
david.bristol@shiloinns.com | www.shiloinns.com
ATTORNEY-CLIENT PRIVILEGED; DO NOT FORWARD WITHOUT PERMISSION
CONFIDENTIALITY NOTICE: This e-mail contains confidential and privileged information. It is intended only for the use of the individual(s) named as
recipients. If you are not the intended recipient of this e-mail, please notify the sender and please do not deliver, distribute or copy this e-mail, or
disclose its contents or take any action in reliance on the information it contains.




 Case 20-42348-BDL                         Doc 1          Filed 10/15/20                 Ent. 10/15/20 16:16:41                        Pg. 7 of 20
 Fill in this information to identify the case:
 Debtor name Shilo Inn, Ocean Shores, LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                      Check if this is an
                                                WASHINGTON
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Berkshire Hathaway                                                                                                                                                       $11,396.42
 Homestate C
 PO Box 844501                   888-495-8949
 Los Angeles, CA
 90084
 Booking.com B.V.                                                                                                                                                         $57,352.99
 Bank of America
 Lockbox Svcs                    616-254-3517
 PO Box 740401
 Los Angeles, CA
 90074-0401
 Broadcast Music Inc                                                                                                                                                      $11,192.57
 PO Box 630893                   800-925-8451
 Cincinnati, OH
 45263-0893
 Century Link                                                                                                                                                               $4,483.00
 Business Services
 PO Box 52187                    800-860-1020
 Phoenix, AZ
 85072-2187
 Century Link                                                                                                                                                               $4,309.28
 PO Box 91155
 Seattle, WA
 98111-9255
 City of Ocean                                                                                                                                                              $8,899.59
 Shores (Road Tax)
 PO Box 3925                     425-885-1604
 Seattle, WA
 98124-3925
 City of Ocean                                                                                                                                                            $15,583.42
 Shores (Taxes)
 PO Box 909                      360-289-2488
 Ocean Shores, WA
 98569
 Clark Signs                                                                                                                                                                $5,200.00
 PO Box 1113
 St Helens, OR                   503-543-5242
 97051-8113

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                    Case 20-42348-BDL                          Doc 1      Filed 10/15/20              Ent. 10/15/20 16:16:41                        Pg. 8 of 20
 Debtor    Shilo Inn, Ocean Shores, LLC                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Department of Labor                                                                                                                                                    $125,511.39
 & Industries
 L & I Elevator
 Section
 PO Box 44480
 Olympia, WA
 98504-4480
 Expedia Inc                                                                                                                                                              $35,886.94
 PO Box 844120
 Dallas, TX          888-397-1786
 75284-4120
 Grays Harbor                                                                                                                                                             $14,176.56
 County Treasurer
 PO Box 831
 Montesano, WA
 98563
 Guest Supply                                                                                                                                                               $1,407.01
 PO Box 3510
 Cherry Hill, NJ
 08034
 Harbor Linen, LLC                                                                                                                                                          $2,326.29
 PO Box 91155
 Seattle, WA
 98111-9255
 HD Supply                                                                                                                                                                $10,919.78
 PO Box 509058
 San Diego, CA       800-798-8888
 92150-9058
 Pioneer Fire &                                                                                                                                                             $1,293.10
 Security Inc
 PO Box 597
 East Olympia, WA
 98540
 Schindler Elevator                                                                                                                                                         $8,240.31
 Corporation
 PO Box 93050        419-867-5160
 Chicago, IL
 60673-3050
 United States                                                                                                                                                              $5,273.05
 Treasury
 Internal Revenue
 Service
 PO Box 932100
 Louisville, KY
 40293-2100
 Washington Dept of                                                                                                                                                     $363,566.31
 Revenue
 PO Box 34051
 Seattle, WA
 98124-1051




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Shilo Inn, Ocean Shores, LLC                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Washington                                                                                                                                                                 $1,406.85
 Hospitality
 Association
 526 S Locust Ln
 Moses Lake, WA
 98837-2703
 World Cinema Inc                                                                                                                                                           $9,422.40
 PO Box 733288
 Dallas, TX                      713-266-2686
 75373-3288




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                               United States Bankruptcy Court
                                                                     Western District of Washington
 In re      Shilo Inn, Ocean Shores, LLC                                                                              Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Mark S. Hemstreet                                                                    99.9%



 Shilo Ocean Shores Corp                                                              .1%



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Secretary of Shilo Ocean Shores Corp, Manager of the corporation named as the debtor in this case, declare
under penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the
best of my information and belief.



 Date October 15, 2020                                                        Signature /s/ Mark S. Hemstreet
                                                                                            Mark S. Hemstreet

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Western District of Washington
 In re      Shilo Inn, Ocean Shores, LLC                                                                   Case No.
                                                                                    Debtor(s)              Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Secretary of Shilo Ocean Shores Corp, Manager of the corporation named as the debtor in this case, hereby verify that the

attached list of creditors is true and correct to the best of my knowledge.




 Date:       October 15, 2020                                             /s/ Mark S. Hemstreet
                                                                         Mark S. Hemstreet/Secretary of Shilo Ocean Shores Corp,
                                                                         Manager
                                                                         Signer/Title




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                        AAA TRAVEL - TACOMA AUTO TVL
                        1801 S UNION
                        TACOMA, WA 98405


                        ACTIONAIRE
                        302 LINCOLN ST
                        HOQUIAM, WA 98550


                        AMERICAN HOTEL REGISTER
                        BUSINESS SERVICES
                        PO BOX 52187
                        PHOENIX, AZ 85072-2187


                        BERKSHIRE HATHAWAY HOMESTATE C
                        PO BOX 844501
                        LOS ANGELES, CA 90084


                        BONNIE & JERRY INC
                        2490 HIGHWAY 101 N
                        SEASIDE, OR 97138


                        BOOKING.COM B.V.
                        BANK OF AMERICA LOCKBOX SVCS
                        PO BOX 740401
                        LOS ANGELES, CA 90074-0401


                        BROADCAST MUSIC INC
                        PO BOX 630893
                        CINCINNATI, OH 45263-0893


                        CARTRIDGE WORLD GRESHAM
                        10115 SW NIMBUS AVE, STE 600
                        TIGARD, OR 97223


                        CENTURY LINK
                        PO BOX 91155
                        SEATTLE, WA 98111-9255


                        CENTURY LINK
                        BUSINESS SERVICES
                        PO BOX 52187
                        PHOENIX, AZ 85072-2187




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                    CITY OF OCEAN SHORES (B&O TAX)
                    PO BOX 909
                    OCEAN SHORES, WA 98569


                    CITY OF OCEAN SHORES (ROAD TAX)
                    PO BOX 3925
                    SEATTLE, WA 98124-3925


                    CITY OF OCEAN SHORES (TAXES)
                    PO BOX 909
                    OCEAN SHORES, WA 98569


                    CLARK SIGNS
                    PO BOX 1113
                    ST HELENS, OR 97051-8113


                    COAST COMMUNICATIONS CO
                    349 DAMON RD NE
                    OCEAN SHORES, WA 98569


                    COGENCY GLOBAL
                    10 E 40TH ST, 10TH FLOOR
                    NEW YORK, NY 10016


                    COMMTRAK
                    17493 NASSAU COMMONS
                    LEWES, DE 19958


                    CT LIEN SOLUTIONS
                    PO BOX 29071
                    SAN DIEGO, CA 92102


                    DATA RESEARCH, INC.
                    8130 SW BEAVERTON-HILLSDALE
                    HIGHWAY
                    PORTLAND, OR 97225


                    DEPARTMENT OF LABOR & INDUSTRIES
                    L & I ELEVATOR SECTION
                    PO BOX 44480
                    OLYMPIA, WA 98504-4480


                    DORMAKABA/SAFLOK
                    PO BOX 890247
                    CHARLOTTE, NC 28289-0247


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                    ECOLAB
                    PO BOX 100512
                    PASADENA, CA 91189-0512


                    ECOLAB PEST ELIMINATION DIV INC
                    26252 NETWORK PL
                    CHICAGO, IL 60673-1262


                    EXPEDIA INC
                    PO BOX 844120
                    DALLAS, TX 75284-4120


                    FIRE PROTECTION SERVICES
                    9950 SW ARCTIC DR
                    BEAVERTON, OR 97005


                    GRAYS HARBOR COUNTY TREASURER
                    PO BOX 831
                    MONTESANO, WA 98563


                    GREATER GRAYS HARBOR INC
                    506 DUFFY ST
                    ABERDEEN, WA 98520


                    GUEST SUPPLY
                    PO BOX 3510
                    CHERRY HILL, NJ 08034


                    HARBOR DISPOSAL INC
                    PO BOX 7428
                    PASADENA, CA 91109-7428


                    HARBOR LINEN, LLC
                    PO BOX 91155
                    SEATTLE, WA 98111-9255


                    HD SUPPLY
                    PO BOX 509058
                    SAN DIEGO, CA 92150-9058


                    INTERIOR TECHNOLOGY INC
                    PO BOX 206011
                    DALLAS, TX 75320




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                    LCI OFFICE SOLUTIONS
                    10865 SW FIFTH ST, STE 200
                    BEAVERTON, OR 97005


                    LEXYL TRAVEL TECHNOLOGIES
                    PO BOX 645452
                    PITTSGURGH, PA 15264-5452


                    LPSL CORPORATE SERVICES INC.
                    ATTN: GREGORY FOX, VICE PRESID
                    1420 5TH AVENUE, STUE 4200
                    PO BOX 91302
                    SEATTLE, WA 98111-9402


                    MARK S. HEMSTREET
                    11707 NE AIRPORT WAY
                    PORTLAND, OR 97220


                    MICHAEL MCCLURE
                    2795 S ROOSEVELT
                    SEASIDE, OR 97138


                    NORTH BEACH PRINTING
                    PO BOX 583
                    OCEAN SHORES, WA 98569


                    OCEAN SHORES CHAMBER OF COMERCE
                    PO BOX 382
                    OCEAN SHORES, WA 98569


                    OMEGA WORLD TRAVEL
                    325 WHITE ST
                    JACKSONVILLE, NC 28546


                    ONYXX 1440 LLC
                    10220 NE POINTS DR.
                    STE. 315
                    KENT, WA 98035


                    PIONEER FIRE & SECURITY INC
                    PO BOX 597
                    EAST OLYMPIA, WA 98540




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                    PORTLAND LIGHTING, INC
                    10120 SW NIMBUS, STE C6
                    PORTLAND, OR 97223


                    RESORTSANDLODGES.COM
                    9900 HEMINGWAY AVE S
                    COTTAGE GROVE, MN 55016


                    ROYAL CUP
                    PO BOX 206011
                    DALLAS, TX 75320


                    RSS WFCM2016NXSS-WA SIOSN, LLC
                    C/O RIALTO CAPITAL ADVISORS
                    ATTN; ADAM SINGER
                    200 S. BISCAYNE BL, STE 3550
                    MIAMI, FL 33131


                    SALESANDCATERING.COM LLC
                    DEPARTMENT # 10465
                    PO BOX 87618
                    CHICAGO, IL 60680-0618


                    SCEPTRE HOSPITALITY RESOURCES, INC
                    1900 WEST LOOP S, STE 700
                    HOUSTON, TX 77027


                    SCHINDLER ELEVATOR CORPORATION
                    PO BOX 93050
                    CHICAGO, IL 60673-3050


                    SHILO FRANCHISE INTERNATIONAL LLC
                    11707 NW AIRPORT WAY
                    PORTLAND, OR 97220


                    SHILO INN, NAMPA SHORES, LLC
                    1401 SHILO DRIVE
                    NAMPA, ID 83687


                    SHILO MANAGEMENT CORP
                    11707 NW AIRPORT WAY
                    PORTLAND, OR 97220




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                    SKYTOUCH INTERNATIONAL, INC
                    4225 E WINDROSE DR
                    PHOENIX, AZ 85032


                    SPECTRUM COMMUNICATIONS INC
                    526 S LOCUST LN
                    MOSES LAKE, WA 98837-2703


                    STANDARD TEXTILE CO INC
                    PO BOX 630302
                    CINCINNATI, OH 45263-0302


                    STELLAR TRAVEL
                    12011 BEL RED RD, STE 201
                    BELLEVUE, WA 98005


                    SYSCO FOOD SERVICE OF SEATTLE
                    PO BOX 97054
                    KENT, WA 98064-9754


                    TASKAR KIBBEE & ASSOCIATES PC
                    4900 SW GRIFFITH DR, STE 269
                    BEAVERTON, OR 97005


                    TERRANCE KEENAN
                    FOSTER PEPPER PLLC
                    1111 3RD AVE
                    STE. 3400
                    SEATTLE, WA 98101


                    TRAVEL INC
                    4355 RIVER GREEN PKWY, STE 100
                    DULUTH, GA 30096


                    TRAVEL MANAGEMENT PARTNER
                    3128 HIGHWOODS BLVD
                    RALEIGH, NC 27604


                    TRAVEL STORE
                    11601 WILSHIRE BLVD
                    LOS ANGELES, CA 90025


                    UNITED CENTRAL BANK
                    4555 WEST WALNUT STREET
                    GARLAND, TX 75042


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                    UNITED STATES TREASURY
                    INTERNAL REVENUE SERVICE
                    PO BOX 932100
                    LOUISVILLE, KY 40293-2100


                    US FOODS INC
                    PO BOX 413080
                    SALT LAKE CITY, UT 84141-3080


                    WASHINGTON DEPT OF REVENUE
                    PO BOX 34051
                    SEATTLE, WA 98124-1051


                    WASHINGTON HOSPITALITY ASSOCIATION
                    526 S LOCUST LN
                    MOSES LAKE, WA 98837-2703


                    WORLD CINEMA INC
                    PO BOX 733288
                    DALLAS, TX 75373-3288


                    WORLD TRAVEL INC
                    1724 W SCHUYLKILL RD
                    DOUGLASSVILLE, PA 19518




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                                                               United States Bankruptcy Court
                                                                     Western District of Washington
 In re      Shilo Inn, Ocean Shores, LLC                                                                   Case No.
                                                                                    Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Shilo Inn, Ocean Shores, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



 None [Check if applicable]




 October 15, 2020                                                      /s/ Bryan T. Glover
 Date                                                                  Bryan T. Glover
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Shilo Inn, Ocean Shores, LLC
                                                                       Stoel Rives, LLP
                                                                       600 University Street, Suite 3600
                                                                       Seattle, WA 98101
                                                                       Telephone: 206.624.0900




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